                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI

FRANCISCO D. LOPEZ, et al.,                     )
                                                )
                             Plaintiffs,        )
                                                )
       v.                                       )
                                                )
                                                )           Case No. 4:17-CV-00936-GAF
                                                )
ATLAS GENERAL INSURANCE
                                                )
SERVICES, LLC, et al.,                          )
                                                )
                             Defendants.
                                                )

                DEFENDANT’S CORPORATE DISCLOSURE STATEMENT

       NOW INTO COURT, through undersigned counsel, comes Defendant Certain

Underwriters at Lloyd’s of London subscribing to certificate number YF12WQ36-PRP-0066

(“Underwriters”) to file this Corporate Disclosure Statement pursuant to Rule 7.1 of the Federal

Rules of Civil Procedure and Local Rule 7.1.

       Underwriters, the lead syndicate and following syndicates, is not publicly traded, has no

parent corporation, and has no publicly held corporation that owns 10% or more of its stock.

                                            Respectfully submitted,

                                            ROUSE FRETS GENTILE RHODES, LLC


                                            By:/s/Scott C. Grier
                                            Scott C. Grier MO#68630
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                                            UNDERWRITERS OF LLOYD’S OF LONDON




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                                CERTIFICATE OF SERVICE

         I hereby certify that I electronically filed the foregoing with the Clerk of Court by using
the CM/ECF system, which will send a notice of electronic filing to the parties and counsel who
are filing users, and that service was accomplished on any counsel or party who is not a filing
user by United States Mail on the 19th day of April, 2018.



                                              /s/Scott C. Grier
                                              ATTORNEY FOR DEFENDANT CERTAIN
                                              UNDERWRITERS OF LLOYD’S OF LONDON




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